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Entered: October 3rd, 2023
Signed: October 3rd, 2023

SO ORDERED




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF MARYLAND
                                             (Greenbelt Division)

                                                              )
         IN RE:                                               )
                                                              )      Case No. 23-11097 -LSS
         AMR ELRAHIMY                                         )      Chapter 7
                                                              )
                             Debtor.                          )
                                                              )
                                                              )
         IN RE:                                               )
                                                              )      Case No. 23-11027 -LSS
         OPTIMUM CONSTRUCTION, INC.                           )      Chapter 7
                                                              )
                             Debtor.                          )
                                                              )

          ORDER GRANTING MOTION FOR TURNOVER OF PROPERTY OF THE ESTATES

                   This matter came before the Court on the Motion for Turnover of Property of the Estates

         (“Motion”), which was filed by Steven Greenfeld, Trustee (“Trustee”) of the Chapter 7 estates of

         Amr Elrahimy (“Mr. Elrahimy”) and Optimum Construction, Inc. (“Optimum” and collectively
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with Mr. Elrahimy, the “Debtors”). Upon consideration of the Motion, along with any opposition

filed thereto, and it appearing that some relief is warranted, it is hereby:

        ORDERED that the Motion is GRANTED, part, and DENIED, in part; and it is

        FURTHER ORDERED that upon 3 business days’ notice, the Debtors shall turn over to

the Trustee the following vehicles by delivering the vehicles to Limitless Garage, Inc. at the

opening hours of said business,;

        .

               Title owner                        Description

               Joint                              2019 Mercedes-Benz AMG GTR
               Joint                              2021 Mercedes-Benz AMG V83
               Mr. ELrahimy                       2022 Yamaha R1
               Mr. Elrahimy                       2022 Yamaha R7


and it is

        FURTHER ORDERED that the Trustee shall return the vehicles to the Debtors by 5:00

p.m. on the same day the vehicles are delivered to Limitless Garage; and it is

        FURTHER ORDERED that prior to the time the vehicles are delivered to Limitless

Garage, Limitless Garage shall provide the Trustee with proof of insurance in an amount of no

less than $300,000.00 to cover the value of the vehicles while they are in the possession of

Limitless Garage; and it is

        FURTHER ORDERED that, within 7 days from the entry of this Order, the Debtors

shall take the following vehicles to CarMax, or some other similar and widely recognized

business, to obtain a written offer for the purchase of said vehicles and, thereafter, shall provide

copies of the written offers to the Trustee.

               Title owner                        Description


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              Mr. Elrahimy                   2017 Ram Truck
              Joint                          2020 Dodge Ram 2600


                                     END OF ORDER


Copies to:

Office of the U.S. Trustee
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Amr Elrahimy
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Clarksburg, MD 20871

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